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                             Nebraska Court of Appeals Advance Sheets
                                  30 Nebraska Appellate Reports
                              IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                                           Cite as 30 Neb. App. 602



                       In re Interest of Serenity A. and Canjerrica D.,
                               children under 18 years of age.
                                 State of Nebraska, appellee,
                                   v. Candice D., appellant.
                                                    ___ N.W.2d ___

                                        Filed February 8, 2022.   No. A-21-340.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches its conclusions indepen-
                    dently of the juvenile court’s findings. When the evidence is in conflict,
                    however, an appellate court may give weight to the fact that the juvenile
                    court observed the witnesses and accepted one version of the facts over
                    the other.
                 2. Parental Rights: Due Process: Appeal and Error. Whether a parent
                    who is incarcerated or otherwise confined in custody has been afforded
                    procedural due process for a hearing to terminate parental rights is
                    within the discretion of the trial court, whose decision on appeal will be
                    upheld in the absence of an abuse of discretion.
                 3. Motions for Continuance: Appeal and Error. A court’s grant or
                    denial of a continuance is within the discretion of the trial court, whose
                    ruling will not be disturbed on appeal in the absence of an abuse of
                    discretion.
                 4. Parental Rights: Due Process. An incarcerated parent’s physical pres-
                    ence is not necessary at a hearing to terminate parental rights, provided
                    that the parent has been afforded procedural due process.
                 5. Due Process. The fundamental requirement of due process is the oppor-
                    tunity to be heard at a meaningful time and in a meaningful manner.
                 6. Juvenile Courts: Parental Rights: Due Process. Generally, it is within
                    the juvenile court’s discretion to determine how an incarcerated parent
                    may meaningfully participate in the hearing on the termination of his or
                    her parental rights consistent with due process.
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          Nebraska Court of Appeals Advance Sheets
               30 Nebraska Appellate Reports
          IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                       Cite as 30 Neb. App. 602
 7. Constitutional Law: Due Process. Procedural due process includes
    notice to the person whose right is affected by the proceeding; reason-
    able opportunity to refute or defend against the charge or accusation;
    reasonable opportunity to confront and cross-examine adverse witnesses
    and present evidence on the charge or accusation; representation by
    counsel, when such representation is required by the Constitution or
    statutes; and a hearing before an impartial decisionmaker.
 8. Parental Rights: Due Process. In determining whether to allow a par-
    ent’s attendance at a hearing to terminate parental rights, notwithstand-
    ing the parent’s incarceration or other confinement, a juvenile court
    must consider several factors: the delay resulting from prospective
    parental attendance, the need for disposition of the proceeding within
    the immediate future, the elapsed time during which the proceeding
    has been pending before the juvenile court, the expense to the State if
    the State will be required to provide transportation for the parent, the
    inconvenience or detriment to parties or witnesses, the potential danger
    or security risk which may occur as a result of the parent’s release from
    custody or confinement to attend the hearing, the reasonable availability
    of the parent’s testimony through a means other than parental attendance
    at the hearing, and the best interests of the parent’s child or children in
    reference to the parent’s prospective physical attendance at the termina-
    tion hearing.
 9. Juvenile Courts: Parental Rights: Due Process. When a juvenile court
    knows that a parent is incarcerated or confined nearby, it should take
    steps, without request, to afford the parent due process before adjudicat-
    ing a child or terminating the parent’s parental rights.
10. ____: ____: ____. The factors that a court considers in connection with
    allowing a parent’s attendance at a hearing to terminate parental rights,
    notwithstanding the parent’s incarceration or other confinement, relate
    to the overarching and fundamental due process right of the parent to be
    heard at a meaningful time and in a meaningful manner.

   Appeal from the Separate Juvenile Court of Lancaster
County: Elise M.W. White, Judge. Reversed and remanded for
further proceedings.
   Dalton W. Tietjen, of Tietjen, Simon &amp; Boyle, for appellant.
   Patrick F. Condon, Lancaster County Attorney, and Maureen
E. Lamski for appellee.
   Pirtle, Chief Judge, and Riedmann and Welch, Judges.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
        IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                     Cite as 30 Neb. App. 602
  Welch, Judge.
                       INTRODUCTION
   Candice D. appeals the order of the Lancaster County
Separate Juvenile Court terminating her parental rights as to
her two minor children, Serenity A. and Canjerrica D. Candice
argues that the juvenile court erred in refusing to continue the
termination hearing, in violation of her due process rights;
in terminating her parental rights pursuant to Neb. Rev. Stat.
§ 43-292(2), (6), and (7) (Reissue 2016); and in finding that
termination was in the minor children’s best interests. For the
reasons stated herein, we reverse the order and remand the
cause for further proceedings.
                    STATEMENT OF FACTS
                          Background
    Candice is the biological mother of Serenity, born in 2008,
and Canjerrica, born in 2010. The children’s father is not part
of this appeal and will only be referenced as necessary to pro-
vide factual context.
    On September 20, 2019, Candice attempted to pick up the
minor children from school but was too intoxicated to care
for them. Candice admitted to drinking and was transported
to a detoxification center. The minor children were removed
from Candice’s care on September 21 and have remained in
­out-of-home care since that time.
    As a result of these events, Candice was ticketed for child
 abuse, and at the end of October 2019, the juvenile court adju-
 dicated Serenity and Canjerrica as children within the meaning
 of Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016) based upon
 Candice’s admission to allegations that the children lacked
 proper parental care by reason of Candice’s fault or habits
 relating to the September 20 incident. The initial disposi-
 tional order was entered in January 2020, and review hearings
 were held in June, October, and December. During the pend­
 ency of this case, the court ordered Candice to, among other
 things, participate in and successfully complete a residential
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
        IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                     Cite as 30 Neb. App. 602
substance abuse program and follow any recommendations
for stepdown care or treatment and relapse prevention; abstain
from the possession or consumption of alcohol, controlled
substances, or any mind- or mood-altering substances unless
prescribed by a physician; attend Narcotics Anonymous or
Alcoholics Anonymous meetings; participate in an initial diag-
nostic assessment or mental health evaluation; cooperate with
family support services; participate in family counseling; and
participate in supervised or monitored parenting time.
   On December 21, 2020, the State filed a motion to terminate
Candice’s parental rights pursuant to § 43-292(2), (6), and (7).
After difficulty serving Candice with a copy of the motion to
terminate her parental rights, the court allowed Candice to be
served by publication. The termination hearing, which was
originally scheduled for January 22, 2021, was continued to
March 10, then continued again to April.
        Motion to Continue Termination Hearing
   At the start of the April 2021 termination hearing, the
court granted a recess requested by Candice’s counsel because
Candice had not yet arrived. Following the recess, a deputy
informed the court that Candice had been taken into custody
on an outstanding warrant upon entering the courthouse for
the hearing and would not be available for the hearing. After
receiving this information, Candice’s counsel requested a con-
tinuance which was denied by the court on the bases that the
termination hearing had been continued at least once previously
and that the court did not believe Candice “[had] appeared at
any of the prior hearings [or] multiple docket calls.”
                    Termination Hearing
   At the termination hearing, the court received two exhibits
into evidence: the September 25, 2020, case plan and court
report and a collection of certified copies of the court records
in this case. The State’s sole witness was Jordan Housh,
who served as a child and family services specialist for the
Department of Health and Human Services (DHHS) in this
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
case from September 2019 to the time of the termination
hearing, except during her maternity leave, which lasted from
November 2020 until March 1, 2021. Housh testified that the
family had two prior court-involved cases which Candice was
able to resolve. She provided that when the current case began
in September 2019, DHHS offered family support services,
visitation services, referrals to treatment facilities, structured
decisionmaking assessments (which are a tool that DHHS
uses to determine children’s safety), and a substance abuse
evaluation. Housh testified that Candice posed a safety risk to
the children because, when Candice was intoxicated, she was
unable to provide them with adequate supervision, parenting,
and care.
   The month after the January 2020 dispositional hearing,
Candice was arrested for child neglect after she, while vis-
ibly intoxicated, attempted to contact Serenity at a recreation
center. Candice’s visitations were temporarily suspended with
the provision that visitations could take place in a therapeutic
setting while Candice was sober. Following a hearing in early
March, the court ordered that Candice “shall have a minimum
of once weekly supervised parenting time with the minor chil-
dren [and that Candice] shall not use or be under the influence
of alcohol or controlled substances during her parenting time
and may be required to undergo testing prior to any visit tak-
ing place.”
   After Candice’s February 2020 arrest for child abuse, she
entered a short-term residential treatment program. While in
short-term residential treatment, Candice suffered a relapse,
but she was able to successfully complete the program. She
then transitioned to the residential “Project Mother Child”
program. In June, the court permitted Candice to move from
supervised visitation to monitored visitation, which allowed
Candice and the children to walk from Candice’s inpatient
residential facility to nearby stores. While in the residential
program, Candice relapsed and was intoxicated during at least
two of her monitored visitations with her children. One of
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
        IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                     Cite as 30 Neb. App. 602
Candice’s visits with her children ended early because Candice
was intoxicated and fell asleep during the session. Candice
failed to attend another visitation and could not be reached by
the visitation worker. In July, Candice was discharged from the
residential program because she had relapsed, refused to sub-
mit to a breath alcohol test, and was taken to a detoxification
center by law enforcement but left there before she was sober.
After Candice’s relapse and discharge from the residential pro-
gram, her visitation was changed from monitored visitation to
supervised visitation, which status continued for the remainder
of the case.
   In August 2020, Candice reentered a short-term residential
treatment program. Due to the COVID-19 pandemic, the facil-
ity enacted restrictions which complicated in-person visitation
between Candice and the children. Candice successfully grad­
uated from the program in September and was presented with
certificates of completion from a wellness and recovery group,
a parenting class, and a “Circle of Security” class and received
four letters of support from therapists and support staff at the
facility. At the completion of her treatment, she had obtained
housing and had a plan for therapy, continued drug treatment,
medication management, Narcotics Anonymous or Alcoholics
Anonymous attendance, and drug testing.
   Despite Candice’s progress, Housh generally testified that
in November 2020, Candice did not engage in drug testing,
substance abuse services, or family support. Candice’s last
visit with her children occurred on December 24, and from
December 2020 to March 2021, Candice’s whereabouts were
unknown. During that time, Housh alleged Candice was not
involved in substance abuse treatment and family support.
Housh testified that Candice did not have any contact with
DHHS from December 2020 until March 29, 2021, when she
contacted Housh. During that contact, Candice stated that she
had been assaulted multiple times and asked to meet Housh in
person. The meeting took place several days later at Candice’s
apartment. Housh noted that the front door of the apartment
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
complex was unlocked and cracked open and that Candice’s
apartment door was open. Housh stated that during previous
visits, she was unable to enter the apartment complex because
the front door was always locked. Candice informed Housh
that she had been assaulted four times, and Housh observed
that Candice had stitches on her left eyebrow and bruising
on her eyes and face. During the meeting, Candice stated that
she feared disclosing the assaults to Housh because she had
been previously told that she needed to make real changes and
participate in all services. Candice denied using any alcohol.
After further discussion, Candice reported to Housh that she
had been at a domestic violence support center which offered
her crisis services, emergency shelter, and transitional housing.
Housh testified that during her meeting with Candice, Candice
received a call from the center asking when Candice would be
returning to the center.
   During the meeting, Housh informed Candice of the pending
motion to terminate Candice’s parental rights and the scheduled
hearing thereon. Housh testified that this information caused
Candice to become visibly upset, raise her voice, use profanity,
and present with “aggressive” body language. Housh indicated
Candice was eventually able to calm down and continue the
discussion, telling Housh that she had called her children “a
few times” from the center, she provided Christmas gifts for
her children, and stated several times that she was “the best
mom and that she ha[d] always been there for her children.”
   Housh admitted that Candice and the children share a strong
bond and love each other and that when Candice was sober,
the visits went well. However, when Candice was not sober
during visits,
      [t]he children did not want to continue the visits and
      would usually ask the visitation worker if they could
      leave the visit. During the visit, what would upset the
      girls . . . would be [Candice’s] falling asleep on the
      couch, her questioning the girls about different things
      that either didn’t make sense or that the girls didn’t know
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
      the answer to. . . . [S]ometimes Candice would be in the
      bathroom for periods of time. Ultimately, the children
      would mostly ask the visit to be ended due to [Candice’s]
      intoxication.
    The children have also stated that they do not want to be
around Candice if she continued to use substances. Further,
although Housh acknowledged that COVID-19 had negatively
impacted the progress of the case, there was no denial of treat-
ment due to COVID-19 and it was ultimately Candice’s relapse
that affected the progress of the case. Additionally, Housh tes-
tified that Candice has not had stable employment throughout
this case due to attending treatment and that although family
counseling was set up, it was stopped after Candice was unsuc-
cessfully discharged from short-term treatment. Housh testified
that Candice has not engaged in drug or alcohol testing since
April 1, 2021.
    Housh testified that it was DHHS’ position that terminating
Candice’s parental rights was in the children’s best interests
because
      [Candice] has been uninvolved in the case for the past
      three months and . . . even prior to December of 2020 and
      November of 2020, she could not gain stability of her life.
      She could not remain sober. And even prior to this case
      being open, there were also previous cases where there
      [were] similar issues. Yes, in the previous cases she was
      able to fix those issues and have the children returned
      back to her home, but this time she has been unable to do
      that, and I believe that it puts the children at risk of future
      harm if they were to be reunited with her.

                  Juvenile Court’s Order
   The juvenile court terminated Candice’s parental rights pur-
suant to § 43-292(2), (6), and (7) and found that termina-
tion was in the minor children’s best interests. The court
specifically found that Candice had substantially and contin­
uously or repeatedly neglected and refused to give the children
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
necessary parental care and protection, that reasonable efforts
to preserve and reunify the family had failed to correct the
conditions which led to adjudication, and that the children had
been in out-of-home placement for more than 15 of the past
22 months. The court further found that the termination was in
the minor children’s best interests in order for them to obtain
permanency, specifically finding that Candice was unfit due to
her failure to gain stability or maintain sobriety, placing her
children at risk; the children went 3 months without any con-
tact from Candice; the children needed a permanent, stable, and
loving caregiver; and the court had not been presented with any
evidence that Candice had made continued improvement in her
parenting skills or maintained a beneficial relationship with her
children. Candice has timely appealed to this court.

                 ASSIGNMENTS OF ERROR
   Candice’s assignments of error, renumbered and restated,
are that the juvenile court erred in (1) overruling her motion to
continue the termination hearing; (2) terminating her parental
rights pursuant to § 43-292(2), (6), and (7); and (3) finding that
the termination was in the children’s best interests.

                   STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on
the record and reaches its conclusions independently of the
juvenile court’s findings. In re Interest of LeVanta S., 295 Neb.
151, 887 N.W.2d 502 (2016). When the evidence is in conflict,
however, an appellate court may give weight to the fact that the
juvenile court observed the witnesses and accepted one version
of the facts over the other. Id.   [2] Whether a parent who is incarcerated or otherwise con-
fined in custody has been afforded procedural due process for
a hearing to terminate parental rights is within the discretion of
the trial court, whose decision on appeal will be upheld in the
absence of an abuse of discretion. In re Interest of Joezia P.,
ante p. 281, 968 N.W.2d 101 (2021).
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
   [3] A court’s grant or denial of a continuance is within the
discretion of the trial court, whose ruling will not be disturbed
on appeal in the absence of an abuse of discretion. In re Interest
of Noah C., 306 Neb. 359, 945 N.W.2d 143 (2020).
                              ANALYSIS
                       Motion to Continue
   Candice first argues that the juvenile court’s refusal to con-
tinue the termination hearing following her arrest at the court-
house violated her due process rights and was an abuse of the
court’s discretion.
   [4,5] It is well-settled law in Nebraska, and Candice acknowl-
edges, that an incarcerated parent’s physical presence is not
necessary at a hearing to terminate parental rights, provided
that the parent has been afforded procedural due process. In re
Interest of Taeson D., 305 Neb. 279, 939 N.W.2d 832 (2020).
The fundamental requirement of due process is the opportu-
nity to be heard “‘“at a meaningful time and in a meaningful
manner.”’” Id. at 285, 939 N.W.2d at 837, quoting Mathews v.
Eldridge, 424 U.S. 319, 96 S. Ct. 893, 47 L. Ed. 2d 18 (1976).
   [6-9] Generally, it is within the juvenile court’s discretion to
determine how an incarcerated parent may meaningfully par-
ticipate in the hearing on the termination of his or her parental
rights consistent with due process. See In re Interest of Taeson
D., supra.      “‘[P]rocedural due process includes notice to the person
      whose right is affected by the proceeding; reasonable
      opportunity to refute or defend against the charge or
      accusation; reasonable opportunity to confront and cross-
      examine adverse witnesses and present evidence on the
      charge or accusation; representation by counsel, when such
      representation is required by the Constitution or ­statutes;
      and a hearing before an impartial decisionmaker.’”
In re Interest of Mainor T. &amp; Estela T., 267 Neb. 232, 247-48,
674 N.W.2d 442, 457 (2004). In determining whether to allow
a parent’s attendance, notwithstanding the parent’s incarcera-
tion or other confinement, a juvenile court must consider
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
several factors identified by the Nebraska Supreme Court
as follows:
      “the delay resulting from prospective parental attendance,
      the need for disposition of the proceeding within the
      immediate future, the elapsed time during which the
      proceeding has been pending before the juvenile court,
      the expense to the State if the State will be required to
      provide transportation for the parent, the inconvenience
      or detriment to parties or witnesses, the potential danger
      or security risk which may occur as a result of the par-
      ent’s release from custody or confinement to attend the
      hearing, the reasonable availability of the parent’s testi-
      mony through a means other than parental attendance at
      the hearing, and the best interests of the parent’s child or
      children in reference to the parent’s prospective physical
      attendance at the termination hearing.”
In re Interest of Taeson D., 305 Neb. at 285-86, 939 N.W.2d
at 837, quoting In re Interest of L.V., 240 Neb. 404, 482
N.W.2d 250 (1992). However, when a juvenile court knows
that a parent is incarcerated or confined nearby, it should
take steps, without request, to afford the parent due process
before adjudicating a child or terminating the parent’s parental
rights. In re Interest of Landon H., 287 Neb. 105, 841 N.W.2d
369 (2013).
   Here, Candice was not personally served with summons
in connection with the termination proceedings due to her
unknown location at that time. Instead, notice of the proceed-
ing was provided through publication and, after Candice even-
tually reached out to Housh, Housh provided her with actual
notice of the termination hearing 4 days before its scheduled
date. Candice attempted to attend the termination hearing;
however, she was arrested on an outstanding warrant when she
arrived at the courthouse. The court’s awareness of Candice’s
situation was captured on the record. Following Candice’s
counsel’s disclosure that he was waiting for Candice to arrive,
the court granted a recess and stated:
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             30 Nebraska Appellate Reports
         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
      [I]t was my understanding from our courthouse security
      that [Candice] does have a warrant outstanding and so if
      she does appear in the courthouse, I’m not overly confi-
      dent that she will make it up to the 4th floor before being
      taken in for that warrant. But, nonetheless, we will —
      let’s recess.
   Following a short recess, the parties returned and counsel
indicated that Candice had been taken into custody on the war-
rant. Counsel requested a continuance without objection, but
the court denied the oral motion, indicating:
      The Court would note, I think this matter has been set for
      trial and continued at least once that the Court’s recalling
      for further efforts at service. Court would also note that I
      do not believe [Candice] has appeared at any of the prior
      hearings that the Court has had and there’s been multiple
      docket calls on this matter. So, at this time, the Court will
      deny the Motion to Continue.
   The question becomes whether the juvenile court abused its
discretion in overruling Candice’s counsel’s motion to continue
the trial under these circumstances. We hold that it did.
   The timing of counsel’s motion to continue the termina-
tion hearing here presents unusual circumstances. In deciding
whether to allow a parent’s attendance at a hearing to terminate
parental rights notwithstanding the parent’s incarceration or
confinement, the court is normally examining a case of con-
finement which predated the date of the hearing. For instance,
in In re Interest of Joezia P., ante p. 28, 968 N.W.2d 101(2021), we held the juvenile court did not abuse its discretion
in overruling a motion to transport the father to appear at trial
when the court had continued the trial on a previous occasion
so the father could attend and made arrangements for the father
to meaningfully participate in the trial despite his physical
absence. More specifically, we stated:
         In this case, [the father] was aware that [the child]
      was adjudicated as a juvenile under § 43-247(3)(a). [The
      father] was aware of the pending motion to terminate
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         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
      his parental rights and filed a written denial to the alle-
      gations therein. [The father] was represented by counsel
      throughout the proceedings, and the juvenile court held
      a bifurcated hearing, allowing [the father] to review a
      transcript of the evidence against him and consult with
      counsel before presenting his case. After the close of all
      the evidence, the court continued the matter for a third
      hearing to afford [the father] additional time to consult
      with counsel prior to resting his case.
In re Interest of Joezia P., ante at 295, 968 N.W.2d at 112
(2021).
   But the instant case presents a markedly different set of cir-
cumstances and procedural posture. First, despite the juvenile
court’s statement, in support of denial of the motion to con-
tinue, which indicated that Candice “[had not] appeared at any
of the prior hearings [or] multiple docket calls,” this statement
was not an accurate account of the record. The record demon-
strates that Candice was present at the October 2019 adjudica-
tion hearing, the January 2020 dispositional hearing, the June
2020 review hearing, and the October 2020 review hearing. It
appears that Candice was not present at the December 2019
review hearing which was continued until January 2020, the
March 2020 motion to suspend visitation, and the March
2021 docket call for termination. This error may likely relate
to the change in juvenile court judges during the pendency
of the case. More importantly, Candice attempted to attend
the termination hearing and was arrested upon entering the
courthouse.
   Second, a significant component of our ruling in In re
Interest of Joezia P., supra, was premised upon our finding
that the juvenile court took steps to ensure the incarcerated
individual could meaningfully participate in the trial despite his
physical absence from the proceedings. Here, no such accom-
modation was made, in large measure because Candice’s con-
finement took place only minutes before the termination hearing
began. Instead of focusing on the impact of that confinement
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         IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                      Cite as 30 Neb. App. 602
as it related to Candice’s ability to participate in the termina-
tion hearing, the court appeared more concerned with prior
delays and the need to move forward with the proceeding. And
although prior delays are relevant considerations in balancing
due process rights associated with attendance at a termination
hearing, it must be considered in connection with the children’s
best interests in reference to a parent’s actual attendance at trial
and the parents’ due process rights to meaningfully participate
at a termination hearing, including the reasonable opportunity
to refute or defend against the allegations.
   [10] The factors that a court considers in connection with
allowing a parent’s attendance at a hearing to terminate paren-
tal rights, notwithstanding the parent’s incarceration or other
confinement, relate to the overarching and fundamental due
process right of the parent to be heard at a meaningful time and
in a meaningful manner. See In re Interest of Joezia P., ante
p. 281, 968 N.W.2d 101 (2021) (fundamental requirement of
due process is opportunity to be heard at meaningful time and
in meaningful manner). In reviewing the facts of this case, we
are mindful of the Nebraska Supreme Court’s statement in In
re Interest of Landon H., 287 Neb. 105, 112, 841 N.W.2d 369,
374-75 (2013), wherein the court held:
         We clarified that juvenile courts are not required to
      conduct inquiries into the whereabouts of every parent
      who fails to appear for a scheduled hearing. In most
      cases, a parent who has notice of the hearing should
      request to personally participate. But when a court knows
      that a parent is incarcerated or confined nearby, it should
      take steps, without request, to afford the parent due proc­
      ess before adjudicating a child or terminating the parent’s
      parental rights.
   In balancing those rights here, it is clear from this record that
Candice’s October 2020 report showed significant improve-
ment in her alcohol dependence which led to the original
adjudication and eventual motion to terminate. It is equally
clear the State moved forward with termination when Candice
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        IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                     Cite as 30 Neb. App. 602
could not be located for several months following the previous
hearing, in which she demonstrated significant progress. As
such, the one person in a position to explain what happened
to her was Candice, who attempted to attend her trial but was
arrested when she reached the courthouse.
   Although Candice had missed some, but not all, of the
court’s prior hearings, she attempted to attend the termination
hearing. This was not a case of a parent’s unknown where-
abouts or failure to appear. The court was aware Candice
was detained upon arrival while attempting to appear. Under
these circumstances, the juvenile court should have afforded
Candice an opportunity to participate in the termination hear-
ing. Although Candice’s counsel was present and able to par-
ticipate in some ways, that participation did not include a
meaningful opportunity to arrange for Candice to testify if she
chose to. Further, because the court granted the State’s request
to continue the father’s termination hearing until June 2021,
there was not a need to dispose of Candice’s termination hear-
ing in the immediate future, in that granting a continuance to
allow Candice an opportunity to participate in her termination
hearing would not detrimentally impact the children’s immedi-
ate permanency or stability. Conversely, there was significant
detriment to Candice by not continuing the termination hear-
ing to allow her to participate in some form. Based upon the
facts present in this case, we find the juvenile court abused
its discretion in not granting Candice’s counsel’s motion for a
continuance to allow Candice an opportunity to meaningfully
participate in the proceedings.
             Remaining Assignments of Error
  Having determined that the order of the juvenile court must
be reversed and that the cause must be remanded for further
proceedings, we need not address Candice’s remaining assign-
ments of error. See In re Adoption of Yasmin S., 308 Neb. 771,
956 N.W.2d 704 (2021) (appellate court is not obligated to
engage in analysis that is not necessary to adjudicate case and
controversy before it).
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
        IN RE INTEREST OF SERENITY A. &amp; CANJERRICA D.
                     Cite as 30 Neb. App. 602
                         CONCLUSION
   Having found that the court abused its discretion in failing
to continue the hearing for termination of Candice’s parental
rights or take steps to ensure her meaningful participation, we
reverse the juvenile court’s order of termination and remand
the cause for further proceedings.
                               Reversed and remanded for
                               further proceedings.
